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GAS245B           (Rov.l1/16) Judgment
                                     in a CrjminalCase
DC CustodyTSR



                                       UNrrenSrerpsDrsrrucrCounr
                                                   SOUTHERNDISTRICTOF GEORGIA
                                                       SAVANNAH DIVISION

              LTNITEDSTATESOF AMERICA                                   )         JUDGMENT INA CRIMINAL CASE
                          v,
                     TashaCoodwin
                                                                                  CaseNumber:              4:17CR00208-14

                                                                                  USM Number:              22168-021


                                                                                  William Dow Bonds
                                                                                          s Aflomey
                                                                                  Defendanl
THE DEFENDANT:
E pleadedguilty to a lesserincludedoflenseofCount l.
E pleadednolocontendete
                      to Counl(s)                            which was acceptedby the coun.

!   wasfoundguilty on Count(s)                         aftera pleaofnot guilty.

The defendantis adjudicatedguilty ofthis offense:

Title & Section                               Natureof Offense                                                    OffenseEnded            Count

2l U,S.C.$ 846,2l U.S.C.$                     Conspiracyto possesswilh intentto dislribute,
                                                                                         and                      A u g u s2t , 2 0 1 7     I
841(a)(l),21U.S.C.S 841(bXlXD),                        a quantityofmarihuana
                                              distribute,
2l u.s.c.2
                            asprovidedin pages2 tlu:ough
     Thedefendantis sentenced                                                8                                 is imDosed
                                                                                     ofthisjudgment. Thesentence              to the
                                                                                                                        Dursuant
         ReformAct of 1984.
Sentencing
             hasbeenfoundnot guiiry on Count(s)
n Thedefendant
n Count(s)                                !     is !      aredismissedn asto thisdefendant on themotionofthe UnitedStates.

        It is orderedthat the defendantmustnotify the United StatesAttomey for this districtwithin 30 daysof any changeof narne,
residence,                                                                      imposedby thisjudgmentarefully paid. If orderedto
          or mailingaddressuntil all fines,restitution,costs,andspecialassessments
payrestitution,the defendantmustnoti! the CourtandUnitedStatesAttorneyof materialchanges    in economiccircumstances.

                                                                            4pd116-2018
                                                                            Daieof Impositionof Judgment




                                                                            Sienature
                                                                                    ofJudee                   ?

                   Ol
         at        tf)
         =>:
         rJ=
                                                                            William T. Moore,Jr.
                                                                            Judee.U.S.Dishict Court
      LrSA o'-                                                              NameandTitle ol Judge

      -=s
      Jff=         r-

                                                                                     .4pr.r. /Z Za/6
         5                                                                  nat
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DEFENDANT:                  TashaGood$il
CASENUMBERT                 4r17CR00208-14


                                                             IMPRISONMENT

                           is herebycommittedto thecustodyof theFederalBureauof Prisonsto be imprisonedfor a totaltermof:
               The defendant
                                     shallbe servedconculTently
               l2 months.This sentence                                        whichmaybe imposedon therelatedstatecharses.
                                                               with anysentence


     tr        The Courtmakesthe followingrecommendationsto theBureauofPrisons:
               It is recommended                           to the federalfacility in Tallahassee,
                                               be designated
                               thatthe defendant                                               Florida.


     !         The defendant         to thecustodyofthe UnitedStatesMarshal.
                           is remanded

     .         Thedefendant            to theUnitedStatesMarshalfor thisdistrict:
                          shallsurrender

          nat                                   !     a.m.      n p.rn.         on
          !        asnotifiedby theUnitedStatesMarshal.

     A                                                                                   by the BureauofPrisons:
               Thedefendanlshallsurrenderfor serviceofsentenceat the institutiondesignated

          X        before2 p.m.on                     M a y 1 7 ,2 0 1 8

          !        asnotifiedby theUnitedStatesMarshal.

          tr       asnotifiedby theProbationor PrefiialServicesOffice.


                                                                    RETURN
I haveexecutedthisjudgmentasfollows:




          Defendantdeliveredon

at                                                  . with a certifiedcopy ofthisjudgment.


                                                                                               I,]NITED STATESMARSHAL



                                                                           By
                                                                                             DEPUTYUNITEDSTATES
                                                                                                              MARSHAL
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DEFENDANT:            TashaGoodwin
CASENUMBER:           4r17CR00208-14


                                                  SUPERVISEDRELEASE
                           you will be on supervised
Uponreleasellom imprisonment,                      releasefor a termof: 3 vears.

                                              MANDATORY CONDITIONS

l.    You mustnot commitanotherfederal.state,or localcrime.
2.    You mustnot unlawfullypossess a controlledsubstance.
3.    You mustrefrainfrom any unlawfuluseofa controlledsubstance.You mustsubmitto l drugtestwirhin 15daysofrelease
      llom imprisonmentandat least2 periodicdrugteststhereafter,         by the court.
                                                              asdetermined
      n The abovedrugtestingconditionis suspended,                                thatyou posea low risk of future
                                                   basedon the court'sdetermination
      substanceabuse. (Check,
                            {applicable.)
4.    X You mustcooperate  in the collectionofDNA asdirectedby theprobationoff1cer.(check,
                                                                                        fappticable.)
5.    E You mustcomplywith therequirements    ofthe SexOffenderRegishationandNotificationAct (34 U.S.C.$ 20901,erse4.)as
                                                                                          agencyin whichhe or sheresides,
      directedby theprobationofficer,theBureauofPrisons,or ary statesexoffenderregistration
      works,is a student,or wasconvictedofa qualifuingoffense. (check,
                                                                     ilapplicable.)
6.    ! You mustparticipatein an approvedprogramfor domesticviolence.Gheck,   ifapplicabte.)
't.
      E You mustmakerestitutionin accordance  with l8 $$ U.S.C.224&,2259,2264,2327,3663,3663A,    and3664.(check,ifappticabk.)
8.    You muslpaythe assessment  imposedin accordance  with l8 $ U.S.C.3013,

You mustcomplywith the stardardconditionsthathavebeenadoptedby thiscourtaswell aswith any otherconditions
on theattachedpage.
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DEFENDANT:             TashaCoodrvin
CASENUMBERI            4i17CR00208-14


                                  STAIIDARD CONDITIONS OF SUPERVISION
As partofyour superyised         you mustcomplywith the followingstandardconditionsof supervision.Theseconditionsareimposed
                          r€leas€,
because                                   for your behaviorwhile on supervision
         theyestablishthe basicexpectations                                    andidentilythe minimumtoolsneededby probation
officersto keepinformed,reportto the courtabout,andbringaboutimprovements   in your conductandcondition.


  l.   You mustreportto the probationofTicein the federaljudicial districtwhereyou are authorizedto residewithin 72 hoursof your
                               unlessthe probationofficer instructsyou to reportto a differentprobationoffice or within a different
       releasefrom imprisonment,
       time flame,
       After initially reportingto the probationoffice,you will receiveinskuctionsfrom the courtor theprobationofficerabouthow and
       whenyou mustreportto theprobationofficer,andyou mustreportto theprobationofficerasinstructed.
  3 . You mustnot knowinglyleavethe federaljudicial districtwhereyou areauthorized
                                                                                 to residewithoutfirst gettingpermissionfrom
      the courtor the probation
                              officer,
  4.   You mustanswertruthfullythe questions
                                           askedby your probationofficer.
  5 . You must live at a placeapprovedby the probationofficer.If you plan to changervhereyou live or anyhing aboutyour living
      arrangements  (suchas the peopleyou live with), you must notiry the probationofficer at least l0 daysbeforethe change. If
      notiryingthe probationofficer in advanceis not possibledueto unanticipated
                                                                               circumstances, you mustnoti$, the probationofficer
      within 72 hoursofbecorningawareofa changeor expectedchaage.
  6.   You mustallowtheprobalionofficerto visit you at anytime at your homeor elsewhere,andyou mustpermittheprobation
       officerto takeany itemsprohibitedby theconditionsofyour supervision                    in plainview.
                                                                          thathe or sheobserves
  7. You mustwork full time (at least30 hoursper week)at a lawfulgpe of emplol,ment,
                                                                                  unlesstheprobationoflicerexcusesyou from
       doingso. Ifyou do not havefull-timeemployment   you musttry to find full-timeemployment, unlessthe probationofficerexcuses
       you from doing so. If you plan to changewhereyou work or anythingaboutyour work (suchas your positionor your job
                       you mustnotiry the probationofficerat leastl0 daysbeforethe change.If notiryingthe probationofficerat least
       responsibilities),
       l0 daysin advanceis not possibledue to unanticipated   circumstances,you mustnotiry the probationofhcerwithin 72 hoursof
       becomingawareofa changeor expectedchange.
  8.   You mustnot communicate  or interactwith someone
                                                      you know is engaged in criminalactivity. Ifyou know someone   has
       beenconvicledofa felony,you mustnot knowinglycommunicate   or interactwith thatpersonwithoutfirst gettingthe
       permissionof theprobationofficer.
  9.   Ifyou arearrestedor questioned                 officer,you mustnotify the probationollicer within 72 hours.
                                    by a law enforcement
 1 0 . You mustnot own, possess,
                               ol haveaccessto a firearm,ammunition,destructivedevice,or dangerous   weapon(i.e, anlthingthat
       wasdesigned,or wasmodifiedfor, the specificpurposeofcausingbodily injury or deathto anotherpersonsuchasa nunchakus  or
       tasers).
 ll.   You must not act or make any agreementwith a law enforcement
                                                                  agencyto act as a confidentialhumansoulceor informant
       withoutfirst gettingpermissionfiom the court.
 1 2 . If the probationofficer determines
                                        that you posea risk fo anofherperson(includjngan organization),
                                                                                                      the probationofncer may
       requireyou to notily the personaboutthe risk ard you mustcomplywith that instruction.The probationoffrcermay contactthe
       personandconfirmthatyou havenotifiedthatpersonabouttherisk.
                                     ofthe probationofficerrelatedto theconditionsof supervision.
 t 3 . You mustfollow the instructions

U.S.ProbationOfficeUseOnly
 A U.S. probation oflicer has instructed me on the conditions specified by the courl and has provide me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Oveniew o/ Probation and Superrised
Release Conditions, available al: www.uscouds.qov.

Defendant'sSignature                                                                         Date
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 DEFENDANTT            TashaGoodwin
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                                    SPECIALCONDITIONSOF SUPERVISION

l. You mustsubmitto substanceabusetestingto determineif you haveuseda prohibitedsubstance.You mustnot attemptto obstructor
tamperwith thetestingmethods.

2. You mustcomplete40 hoursof communityservicewithin the first 12 monthsof supervision.The probationofficer will superuise
                                                                                                                         the
participationin theprogramby approvingtheprogam andveriling completedhours.

3. You mustsubmityour person,property,house,residence,  office,vehicle,papers,compute$(asdefrnedin l8 U.S.C.$ 1030(e)(l)), other
electroniccommunications  or datastoragedevicesor media,to a searchconductedby a UnitedStatesprobationolncer.Failureto submitto
a searchmay be groundsfor revocationof release.You must warn any other occupantsthat the premisesmay be subjectto searches
pursuantto this condition.The probationofficermay conducta searchunderthis conditiononly whenreasonable  suspicionexiststhatyou
haveviolateda conditionof supervision andthatthe areasto be searchedcontainevidenceofthis violation.Any seaxchmustbe conducted
              time andin a reasonable
at a reasonable                      mamer.
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DEFENDANT:             TashaGoodwil
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                                         CRIMINAL MONETARY PENALTIES
                 mustpaythetotalcriminalmonetarypenaltiesunderthescheduleofpayments.
     The defendant

                                     *
             Assessment JVTA Assessment                         Fine                               Restitution
TOTALS       SlOO

n     The determination ofrestitutionis defeneduntil                            . An AmendedJudgmenl in q Criminal Case602r:trl
      will be enteredaftersuchdetermination.

tr                mustmakerestitution(includingcommunityrestitution)to the followingpayeesin theamountlistedbelow.
      The defendant

      If the defendantmakesa partial palarent, each payeeshall receivean approximatelyproportionedpayment,unlessspecified
                                                 paymentcolumnbelow. However,pursuantto l8 U.S.C. $ 3664(t, all nonfederal
      otherwisein the priority order or percentage
      victimsmustbe paidbeforetheUnitedStatesis paid,

Nameof Pavee                            Total Loss**                        RestitutionOrdered              Priority or Percentaqe




TOTALS

-     Reslilutionamountorderedpursuantto pleaageemenl S

n     The defendantmustpay intereston restitutionanda fineofmore than$2,500,unlesstherestitutionor fine is paidin full beforethe
      fifteenthdayafterthe dateofthejudgment,pursuantto l8 U,S.C.$ 3612(f).All ofthe palmentoptionson the schedule     of
      paymentsmaybe subjectto penaltiesfor delinquency  anddefault,pursuantto 18U.S.C.$ 3612(g).

n     The courtdetermined               doesnot hayethe abilityto pay interestandit is orderedthat:
                        thatthe defendant

     tr   the interestrequirement
                               is waivedfor the           !   fine     tr    restitution.

     tr   the interestrequirement
                                for the        !   fine       D restitutionis modifiedasfollows:

* Justicefor VictimsoftraffickingAct of ?015,Pub.L. No. I l4-22.
* * Findingsfor the total amountof lossesarerequiredunderChapters1094, I I 0, I l0A, and I 13A of Title I 8 for offensescommittedon
or afterSeptember  13, 1994,but beforeAVil23, 1996.
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DEFENDANTT              TashaGood$in
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                                                      SCHEDULEOF PAYMENTS
                          ability to pay,paymentofthe total criminalmonetarypenaltiesis dueasfollows:
             thedefendant's
Havingassessed

A    X     Lump sumpaymentof$lQQ is dueimmediately.

            n   not laterthan                                    ,of
            n   in accordance!        C,       !   D,     E   E,or     I   Fbelow;or

B    E     Paymentto beginimmediately(maybe combinedwith                   !   C,      E D, or       !   F below);or

C    n     Paymentin equal                 ,       (e.c.,veekbt,    q..d,'/ertiinstallments
                                                              mokthly,                    of $                         overa periodof
                        (e-g.,monthsor years),to commence                      te.g..J0 or 60doys)afterthe dateofthisjudgmen[ or

D    n      Paymentin equal                    k,g., weekly,monthly,qua e y) installmentsof $                   over a period of
                        (e.g.,monthsor years),lo commence                  (e.g.,30or 60days)afterreleasefrom imprisonment to a
           tenn oI supeMslon;or

E    !     Paymentduringfhetermof supervisedreleasewill commence
                                                               within   _(".g.,         30or 60days)afferrelease   ffom
           imprisonment.Thecourtwill setthepaymentplanbasedon an assessment               abilityto pay at thattime; or
                                                                          ofthe defendant's

F    !      Specialinsbuctionsregardingthepaymentofcriminal monetarypenalties:




Unlessthe court hasexpresslyorderedotherwise,if thisjudgmentimposesimprisonment,
                                                                               paymentof criminalmonetarypenaltiesis due
duringimprisonment.All criminalmonetarypenalties,exceptthosepaymentsmadetbroughthe FederalBureauofPrisons'InmateFinancial
             Program,aremadeto theclerkofthe court.
Responsibility


            shallreceivecreditfor all payments
The defendant                                previouslymadetowardanycriminalmonetarypenaltiesimposed.

!        JointandSeveral
         DefendantandCo-Defendant  NamesandCaseNumbersfthcluding
                                                               defendant
                                                                      nunber,TotalAmount,JointandSeveralAmount,
         andcorrespondingpayee,if appropriate.




n                    shallpaythecoslofprosecution.
         The defendant

tr                   shallpaythe followingcourtcost(s):
         The defendant

tr       Thedefendant                         interestin the followingpropefiyto theUnitedStates:
                    shallforfeitthe defendant's

Payments   shallbe appliedin the followingorder:(l) assessment,
                                                            (2) restitutionprincipal,(3) restitutioninterest,(4) lureprincipal,
                 (6)                      (7)
(5) fine interest, communityrestitution, JVTA Assessment,    (8) penalties,and(9) costs,includingcostofprosecutionandcourtcosts.
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DEFENDANT:                TashaGoodwin
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                                               DENIAL OF FEDERAL BENEFITS
                                          (For OlfensesConmittedOnor AIler November18,1988)



FOR DRUG TRAFFICKERS PURSUANTTO 21 U.S'C.$ 862(a)

           IT IS ORDEREDthatthedefendantshallbe:

tr       ineligibJefor all federalbenefitsfor a periodof        I year

n        ineligiblefor thefollowingfederalbenefitsfor a periodof
         (specif,benefrt(s))


                                                                   OR
tr                      thatthis is the defendant's
         Havingdetermined                          third or subsequentconvictionfor distributionofcontrolledsubstances,
         lT IS ORDEREDthatthedefendant    shallbe permanently ineligiblefor all lederalbenefits.

FOR DRUG POSSESSORSPURSUANT TO 21 U.S.C. S 862(b)

         IT lS ORDEREDrhatthedefendant
                                     shall:

!        be ineligiblefor all federalbenefitsfor a periodof

n        be ineligiblefor the followingfederalbenefitsfor a periodof

         (specifybenefit(s))



     n                  completea drugtestingandtreatmentprogram.
             successfully

     n       performcommulity service,asspecifiedin theprobationandsupervised
                                                                            releaseportionofthisjudgment.

     !       Havingdetermined thatthis is thedefendart'ssecondor subsequent  convictionfor possession
                                                                                                    ofa controlledsubstaace,
             IS FURTHERORDEREDthatthedefendantshallcompleteanydrugtreatmentprogramandcommunityservicespecifiedin
             thisjudgmentasa requirement   for thereinstatement
                                                             ofeligibiliq/ for federalbenefits.


Pursuant to 21 U.S.C,$ 862(d),tbis denial of federal benefitsdoesnot include any r€tirement,welfare, SocialSecurity,health,
disability,veteransbenelit,public housing,or other similar benefit,or any other benefitfor which paym€ntsor servicesare
required for eligibility, The clerk is responsiblefor sendinga copyofthis pagesnd the first pageof this judgmeDtto:

                               U.S.DepartmentofJustice,OfficeofJusticePrograms,Washington,
                                                                                        DC 20531
